                            UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

In re:
                                                            Case No. 19-54531-pjs
JOSEPH G. DuMOUCHELLE, et al.,                              Chapter 11
                                                            Hon. Phillip J. Shefferly
                  Debtor.



                               NOTICE OF APPEARANCE AND
                                 REQUEST FOR SERVICE

         PLEASE TAKE NOTICE that Shanna M. Kaminski of Varnum LLP appears as counsel

for J.B. International, a creditor in the above-captioned cases, and pursuant to Fed. R. Bankr. P.

2002 and 9010, requests that all notices given or required to be given in the above case and all

papers served in the above case be given to and served upon the following:

                                  Shanna M. Kaminski, Esq.
                                       VARNUM LLP
                                  160 W. Fort St., Fifth Floor
                                      Detroit, MI 48226
                                       (313) 481-7332
                                 smkaminski@varnumlaw.com

         PLEASE TAKE FURTHER NOTICE that the foregoing request includes not only

notices and papers referred to in the rules specified above, but also includes, without limitation,

all orders and notices of any application, motion, petition, pleading, request, complaint or

demand, whether formal or informal, whether written or oral, and whether transmitted by mail,

hand delivery, telephone, facsimile, email or otherwise, that affects any creditors, the Debtors,

Debtors-in-Possession, or property of the Debtors or Debtors-in-Possession.

         This Notice of Appearance and Request for Service of Papers shall not be deemed or

construed to be a waiver of J.B. International's right (1) to have final orders in non-core matters




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entered only after de novo review by a District Judge, (2) to trial by jury in any proceeding so

triable in these cases or any case, controversy or proceeding related to these cases, (3) to have the

District Court withdraw the reference in any matter subject to mandatory or discretionary

withdrawal, or (4) any other rights, claims, actions, setoffs, or recoupments to which J.B.

International is or may be entitled, in law or in equity; all of which rights, claims, actions,

defenses, setoffs and recoupments to which J.B. International expressly reserves.

                                                   Respectfully submitted,

                                                   VARNUM LLP

                                                   By: /s/ Shanna M. Kaminski
                                                           SHANNA M. KAMINSKI (P74013)
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Dated: November 15, 2019                                   Attorneys for J.B. International




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